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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                           Chapter 11

M & G USA CORPORATION,et al.,l                                   Case No. 17-12307(BLS)

                  Debtors.                                       (Jointly Administered)



                                                         Objection Deadline: December 27,2018 at 4:00 p.m.(ET)
                                                                  riea~-i~ig date: Ta ~~ s~}~edulec~ z4';~spans~ o1ed.

   NOTICE OF FILING OF FIRST MONTHLY APPLICATION OF JONES DAY FOR
    ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND FOR
     REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE DEBTORS FOR
     THE PERIOD FROM OCTOBER 31,2017 THROUGH NOVEMBER 30,2017

                  PLEASE TAKE NOTICE that on December 5, 2017, Jones Day, counsel to the

above-captioned debtors (the "Debtors")filed and served the First Monthly Application ofJones

Dayfog Allowance ofCompensationfog SeNvices RendeNed andfor ReimbuNsement ofExpenses

as Counsel to the DebtoNsfor the Period From October 31, 2017 Through NovembeN 30, 2017

(the "Application"), seeking compensation for the reasonable and necessary services rendered to

the Debtors in the amount of $1,575,370.00(80% of 1,969,212.50), and reimbursement for

actual and necessary expenses in the amount of $10,310.08.

                  PLEASE TAKE FURTHER NOTICE that objections or responses to the

Application, if any, must be made in writing and filed with the United States Bankruptcy Court




'       The Debtors are the following twelve entities (the last four digits of their respective taxpayer identification
numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA,LLC(3236), M & G
Polymers USA,LLC(7593), M & G Finance Corporation (4230), M&G Waters USA,LLC(2195),
Mossi & Ghisolfi International S.a r1.(1270), M&G Chemicals S.A.(N/A), M&G Capital S.a r.l. (7812), M & G
USA Holding, LLC (3451), Chemtex International Inc.(7695), Chemtex Far East, Ltd.(2062)and Indo American
Investments, Inc.(9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears Road, Suite 240,
Houston, Texas 77067.
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for the District of Delaware, 824 North Market Street, Wilmington, Delaware 19801, on or

before December• 27,2017, at 4:OQ p.m. Pre~~ailing Eastern Time.

              The Application is submitted pursuant to the OrdeN Authorizing PNocedu~esfor

Interim Compensation and Reimbursement ofExpenses ofProfesszonals entered by this Court on

December 1, 2017 [Docket No. 308](the "Administrative Order").

              PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon:(i) counsel to the Debtors,(a) Jones Day,250

Vesey Street, New York, NY 10025 (Attn: Scott J. Greenberg, Esq.),

sgreenberg@jonesday.com, and (b)Pachulski Stang Ziehl &Jones, LLP,919 North Market

Street, 17th Floor, Wilmington, DE 19801 (Attn: Laura Davis Jones, Esq.), ljones@pszjlaw.com;

(ii) the Office of the United States Trustee, 844 King Street, Suite 2207, Wilmington, Delaware

19801 (Attn: Hannah M. McCollum, Esq.), Hannah.mccollum@usdoj.gov;(iii) counsel for the

Pre-Petition First Lien Lender,(a) Cleary Gottlieb Steen &Hamilton LLP, One Liberty Plaza,

New York, NY 10006(Attn: Lisa M. Schweitzer, Esq.), lschweitzer@cgsh.com, and (b) Young

Conaway Stargatt &Taylor, LLP, 1000 North King Street, Wilmington, DE 19801 (Attn:

Pauline K. Morgan, Esq.), pmorgan@ycst.com;(iv) counsel to the Pre-Petition Second Lien

Secured Party,(a) Weil, Gotshal & Manges LLP,700 Louisiana, Suite 1700, Houston, TX 77002

(Attn: Alfredo R. Perez, Esq.) alfredo.perez@weil.com, and (b) Morris, Nichols, Arsht and

Tunnell LLP, 1201 North Market Street, 16th Floor, Wilmington, DE 19801 (Attn: Curtis S.

Miller, Esq.), cmiller@mnat.com;(v)counsel to Comerica Bank (a) Miller, Canfield, Paddock

and Stone, P.L.C., 150 West Jefferson, Suite 2500, Detroit, MI 48226 (Attn: Jonathan S. Green,

Esq.) green]@millercanfield.com, and (b) Connolly Gallagher LLP, 1000 West Street, Suite

1400, Wilmington, DE 19801,(Attn: Karen C. Bifferato, Esq.)



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kbifferato@connollygallagher.com; and (vi) proposed counsel to the Official Committee of

Unsecured Creditors,(a) Milbank Tweed Hadley &McCoy LLP,28 Liberty Street, New York,

New York 10005-1413 (Attn: Dennis F. Dunne), ddunne@milbank.com, and (b) Cole Schotz

P.C., 500 Delaware Avenue, Suite 1410, Wilmington, Delaware 19801 (Attn: J. Kate Suckles),

kstickles@coleschotz.com.

              PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS ARE

FILED AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES,THEN 80%

OF FEES AND 100% OF THE EXPENSES REQUESTED IN THE APPLICATION MAY BE

PAID PURSUANT TO THE ADMINISTRATIVE ORDER WITHOUT FURTHER HEARING

OR ORDER OF THE COURT.

              IF A TIMELY OBJECTION IS FILED AND SERVED, THEN PAYMENT

WILL BE MADE ACCORDING TO THE PROCEDURES SET FORTH IN THE

ADMINISTRATIVE ORDER.

              A HEARING ON THE APPLICATION WILL BE HELD ONLY IF

OBJECTIONS OR RESPONSES ARE TIMELY FILED.

Dated: December 5, 2017                       PACHULSKI STANG ZIEHL &JONES LLP

                                              %s/Joseph M. Mulvihill
                                              Laura Davis Jones(DE Bar No. 2436)
                                              James E. O'Neill(DE Bar No. 4042)
                                              Joseph M. Mulvihill(DE Bar No. 6061)
                                              919 N. Market Street, 17th Floor
                                              P.O. Box 8705
                                              Wilmington, DE 19899-8705 (Courier 19801)
                                              Telephone: (302)652-4100
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                                              Email:        ljones@pszjlaw.com
                                                            joneill@pszjlaw.com
                                                            jmulvihill@pszjlaw.com

                                              and


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                            and

                            Carl E. Black
                            901 Lakeside Avenue
                            Cleveland, Ohio 44114
                            Telephone: (216)586-7035
                            Facsimile:    (216)579-0212
                            Email:        ceblack@jonesday.com

                            Co-Counsel for the Debtors and Debtors in
                            Possession
